    Case 2:20-cv-09082-JFW-GJS Document 8-1 Filed 10/06/20 Page 1 of 1 Page ID #:21


AO 440 (Rev. 06/12) Summons in a Civil Action



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Central District of California


                                                                      )
               OLIVER CHAINE, an Individual                           )
                                                                      )
                                                                      )
                              Plaintiff(s)                            )
                                                                      )
                                   v.
                                                                      )
                                                                      ) Civil Action No. 2:20-cv-09082
                                                                                                       JFW (GJSx)
   TESLA ENERGY OPERATIONS, INC, a business                           )
   entity, form unknown; EQUIFAX INFORMATION                          )
  SERVICES LLC, is a business entity, form unknown,                   )
                and DOES 1-10, Inclusive,                             )
                                                                      )
                             Defendant(s)

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)              TESLA ENERGY OPERATIONS, INC
                                                c/o C T Corporation System
                                                818 W. 7th Street STE 930
                                                Los Angeles, CA 90017




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) – or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or (3) – you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                Robert F. Brennan, Esq. (S.B.# 132449)
                LAW OFFICES OF ROBERT F. BRENNAN, A P.C.
                2103 Montrose Avenue, Suite D
                Montrose, California 91020

        If you fail to respond, a judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                              CLERK
                                                                                E   OF COURT


Date: 10/6/2020
                                                                                       Signature of Clerk or Deputy
                                                                                                                 t Clerk
